Case 5:08-cr-00282-FL   Document 362   Filed 09/15/09   Page 1 of 7
Case 5:08-cr-00282-FL   Document 362   Filed 09/15/09   Page 2 of 7
Case 5:08-cr-00282-FL   Document 362   Filed 09/15/09   Page 3 of 7
Case 5:08-cr-00282-FL   Document 362   Filed 09/15/09   Page 4 of 7
Case 5:08-cr-00282-FL   Document 362   Filed 09/15/09   Page 5 of 7
Case 5:08-cr-00282-FL   Document 362   Filed 09/15/09   Page 6 of 7
Case 5:08-cr-00282-FL   Document 362   Filed 09/15/09   Page 7 of 7
